Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 1 of 22




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                            Case No.: 9:23-CV-81420-RLR

  SEMPER FOODS, LLC,

        Plaintiff,

  v.

  ERIC OUELLETTE,

        Defendant.
  _________________________/

                       MOTION FOR PRELIMINARY INJUNCTION
                     AND INCORPORATED MEMORANDUM OF LAW
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 2 of 22




         Plaintiff, Semper Foods, LLC (“Semper Foods”), through undersigned counsel, pursuant

  to Federal Rule of Civil Procedure, and based upon the Verified Complaint (“Compl.”), serves

  this Motion for Preliminary Injunction and Incorporated Memorandum of Law seeking a

  preliminary injunction against Defendant, Eric Ouellette (“Ouellette”), and states:

                                       I. INTRODUCTION

         Ouellette—one of Semper Foods’ founders and its former Chief Operating Officer—is

  working for Semper Foods’ direct competitor in violation of valid restrictive covenants contained

  in Semper Foods’ Operating Agreement and will not stop. This Court should issue a preliminary

  injunction preventing his continued violations for the reasons set forth below.

                                       II. VERIFIED FACTS

         A. Semper Foods’ Formation and its Business.

         In 2018, Andrew Geller (“Geller”), Jency Lopez (“Lopez”), and Ouellette, through their

  respective companies (together, the “Members”), collectively founded Semper Foods, and each

  of the Members initially owned a one-third interest. Compl. at ¶¶7-9. Semper Foods is a

  nationwide specialized broker and distributor of wholesale protein foodstuffs (chicken breasts,

  ground beef, etc.) and dry-good food products. Id. at ¶10. Its customers include nationwide

  wholesalers, national food processors and food brands, food banks, and governmental and

  educational institutions and systems. Id. at ¶¶11-12. Semper Foods has developed valuable

  customer lists and ongoing customer relationships and related confidential and proprietary

  information through a significant investment of time, manpower, and resources. Id. at ¶¶13-15.

         The company’s customer, supplier, and vendor information, including without limitation,

  customer needs and related pricing, are hard-earned, extremely valuable trade secrets and

  confidential information that Semper Foods carefully guards against competitors. Id. at ¶¶16-18.
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 3 of 22




          B. Relevant Terms in Semper Foods’ Operating Agreement.

          To protect its confidential and trade secret information, customer relationships, and

  goodwill, the Members agreed in the Operating Agreement to certain covenants (the “Operating

  Agreement”). See Compl. at ¶19, Ex. “A.” In Article XI(A), the Members (including Ouellette)

  agreed that, during the period of ownership in Semper Foods and for eighteen (18) months

  immediately following the date on which such ownership interest terminates (the “Exclusionary

  Period”), no Member may “directly or indirectly (a) own, invest, manage, operate, control or

  participate in any manner in the ownership, management, operation or control of any entity, (b)

  serve as a partner, equity holder, employee, principal, agent, or otherwise with any person or entity

  … that directly competes with the Company’s principal business operations as a food broker […].”

  Id. at ¶20, Ex. “A” at pp. 14-15. Ouellette also agreed to “promptly notify the President of the

  Company … in advance in writing (which shall include a description of the activity) of [his]

  intention to engage in any activity which could reasonably be deemed to be subject to the

  noncompetition provision. . .” Id. at ¶22, Ex. “A” at p. 15.

          Ouellette further agreed to non-solicitation restrictions under Article XI(B) and

  confidentiality restrictions under Article XI(C). Id. at ¶¶22-23, Ex. “A” at p. 15. In addition to the

  foregoing restrictive covenants, the Members (including Ouellette) agreed in Article VIII(D) that

  any Member may be expelled from the company and an Officer may be removed from office

  pursuant to the provisions and procedures set forth in the Operating Agreement, for “cause”, as

  defined therein. Id. at ¶¶24-25, Ex. “A” at p. 7.

          C. Ouellette’s Role with Semper Foods.

          Ouellette served as Semper Foods Chief Operating Officer and Second Vice President from

  the date of the company’s organization through April 3, 2023. Compl. at ¶¶28-29. Ouellette held

                                                                    2
                      NELSON MULLINS RILEY & SCARBOROUGH | ATTORNEYS AND COUNSELORS AT LAW
      One Biscayne Tower | 2 South Biscayne Blvd. 21st Floor Miami, FL 33131 | T: 305.373.9400 | F: 305.373.9443 | nelsonmullins.com
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 4 of 22




  the veritable keys to the kingdom—unfettered access to the highest levels of Semper Foods’

  confidential, proprietary, and trade secret information business including, but is not limited to,

  Semper Foods’ its customer database, specific identities, contact information and purchase

  histories for customers and vendors, and highly confidential pricing information, as well as other

  confidential information crucial to servicing Semper Foods’ customers, and maintaining the

  company’s goodwill and market share. Id. at ¶¶31-33.

          D. Semper Foods Implements and Maintains Comprehensive Policies and Measures
             to Protect Its Confidential and Sensitive Information.

          In addition to requiring Ouellette to enter into certain restrictive covenants, Semper Foods

  instituted numerous other measures to protect its confidential and proprietary information and

  trade secrets. Id. at ¶35. For example, employees are required to sign Non-Disclosure and Non-

  Solicitation Agreements as a condition of employment. Id. Semper Foods utilizes industry best

  practices to protect its computer network, where most of its proprietary, trade secrets and

  confidential information are stored. Id. at ¶¶36-39. It also employs a host of security software to

  monitor and protect its proprietary, confidential and trade secret information, as well as physical

  security measures to protect its offices. Id. at ¶¶38-40.

          E. Ouellette is Expelled as a Member of Semper Foods and Removed as an Officer
             for “Cause”.

          Despite Ouellette’s unequivocal contractual obligations and statutory fiduciary duties, he

  repeatedly violated the Operating Agreement; and he was both disloyal and dishonest towards

  Semper Foods. See Compl. at ¶41.

                     1. Ouellette Lies About his Gambling Issues.

          As early as April 2020 and subsequently thereafter, Ouellette repeatedly, affirmatively

  acknowledged to Semper Foods’ that his personal gambling habits posed a significant risk to the

                                                                    3
                      NELSON MULLINS RILEY & SCARBOROUGH | ATTORNEYS AND COUNSELORS AT LAW
      One Biscayne Tower | 2 South Biscayne Blvd. 21st Floor Miami, FL 33131 | T: 305.373.9400 | F: 305.373.9443 | nelsonmullins.com
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 5 of 22




  company and potentially jeopardized the company’s ability to secure funding – which it ultimately

  did. Id. at ¶¶42-43. In fact, Ouellette instructed Semper Foods’ Director of Human Resources &

  Accounting to hide certain pages of his tax return reflecting gambling income or losses when

  delivering same to lenders related to Semper Foods’ efforts to obtain credit. Id. at ¶44.

          On October 8, 2022, Ouellette confirmed in writing to Geller that he was no longer

  gambling. Id. at ¶45. This was a bald-faced lie, however; and it was material to Semper Foods. Id.

  at ¶46. In fact, Ouellette stayed at the MGM Grand in Detroit, Michigan (MGM), just two days

  later, and as of October 15, 202, was still gambling upwards of $10,000 per month. Id. at ¶¶47-49.

  Evidence shows that Ouellette engaged in gambling activities on an almost daily basis on his work

  computer from at least November 2022 through March 2023, while also taking regular out of state

  gambling trips, including during the workweek. Id. at ¶¶50-51. In March 2023, Semper Foods was

  unable to obtain a Letter of Credit as a result of Ouellette’s gambling. Id. at ¶52.

                     2. Ouellette Blatantly Violates his Restrictive Covenants.

          Unbeknownst to Semper Foods or its other Members, in December 2022, Ouellette had

  discussions with The Real Good Food Company, Inc. (“RGF”), regarding joining RGF as an

  employee or independent contractor. Id. at ¶53. RGF is a food products seller; and many of its

  products and services overlap with those offered by Semper Foods. Id. at ¶54. RGF also targets

  the same or similar suppliers and vendors as Semper Foods. Id.

          On December 17, 2022, Ouellette approached Geller about ambiguous “secondary

  employment” outside of Semper, and complained that he needed a second job to fund his desired

  lifestyle. Id. at ¶¶55-57. In reality, Ouellette desired additional income in part to fund his gambling

  habit. Id. at ¶56. On December 26, 2022, Ouellette sent a text to Geller revealing that his “fourth

  and final interview” with RGF was forthcoming and stated that RGF would make purchases from

                                                                    4
                      NELSON MULLINS RILEY & SCARBOROUGH | ATTORNEYS AND COUNSELORS AT LAW
      One Biscayne Tower | 2 South Biscayne Blvd. 21st Floor Miami, FL 33131 | T: 305.373.9400 | F: 305.373.9443 | nelsonmullins.com
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 6 of 22




  Semper Foods once Ouellette began working there. Id. at ¶58. Until that time, Ouellette had

  concealed the true scope of his discussions with RGF. Id. at ¶59. On December 27, 2022—while

  he was actively attempting to be hired by RGF and without authorization—Ouellette asked one of

  Semper Foods’ procurement resources, Tim Panzeri, for pricing information to send to RGF. Id.

  at ¶¶60-62. In short, Ouellette was utilizing Semper Foods’ procurement resources to personally

  benefit from the relationship with RGF to the exclusion of Semper Foods. Id. at ¶63.

          On a December 28, 2022 call, Geller informed Ouellette that under no circumstances would

  Semper Foods permit Ouellette to work for or otherwise moonlight for RGF in any capacity. Id.

  at ¶¶65-67. On January 4, 2023, Ouellette forwarded a draft consulting agreement between RGF

  and Ouellette (not Semper Foods) from his personal email account to his Semper Foods email

  address, and texted Geller: “just had a lengthy talk with RGF about assigning the consulting

  contract to semper foods. . .” Id. at ¶¶68-71. On January 9, 2023, Ouellette pressured a Semper

  Foods employee to provide him with confidential pricing information ahead of a dinner with RGF.

  Id. at ¶72. Semper Foods later learned that Ouellette had joined RGF for dinner in Orlando, Florida,

  that night without advising Geller or Lopez. Id. at ¶73. It was the first time since Semper Foods

  began that Ouellette did not submit expenses for reimbursement. Id. at ¶74.

          On January 13, 2023, Semper Foods entered into a Consultant Agreement with RGF to

  explore supposedly mutually beneficial opportunities (the “Consultant Agreement”) at

  Ouellette’s behest. Id. at ¶75. Both Semper Foods and RGF agreed to strict confidentiality and

  non-disclosure restrictions, and Semper Foods also agreed to certain non-solicitation and non-

  competition covenants because Semper Foods and RGF were competitive. Id. at ¶¶76-77. In fact,

  Ouellette “assigned” his consulting contract with RGF to Semper Foods only because he was

  caught moonlighting for RGF using Semper Foods’ resources. Id. at ¶78.

                                                                    5
                      NELSON MULLINS RILEY & SCARBOROUGH | ATTORNEYS AND COUNSELORS AT LAW
      One Biscayne Tower | 2 South Biscayne Blvd. 21st Floor Miami, FL 33131 | T: 305.373.9400 | F: 305.373.9443 | nelsonmullins.com
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 7 of 22




          Almost immediately, despite Ouellette’s representations otherwise, it became apparent that

  continuing a relationship with RGF was untenable. Id. at ¶80. On January 20, 2023, Ouellette sent

  an email arguing that Semper Foods should terminate its relationship with RGF based on his

  claimed concerns regarding how RGF conducted business. Id. at ¶81. One hour earlier, however,

  Ouellette had sent proprietary pricing information to RGF. Id. at ¶82. The same day, Ouellette, on

  behalf of Semper Foods, sent RGF a Notice of Termination of confirming that the Consultant

  Agreement was terminated effective immediately. Id. at ¶83.

          Unbeknownst to Semper Foods at the time, Ouellette nonetheless continued working for

  RGF through an off-the-books consultancy engagement that he agreed to with RGF’s Executive

  Chairman Bryan Freeman. Id. at ¶79, 84-85. Throughout January and February 2023, Ouellette

  continued obtaining Semper Foods pricing and vendor information for use by RGF. Id. at ¶86. For

  example, on January 25, 2023, Ouellette emailed a Semper Foods vendor, stating that “I am just

  doing some consulting for RGF” and requested a meeting to discuss purchasing. Id. at ¶87. And

  on January 26, 2023, he emailed another Semper Foods supplier on behalf of RGF seeking

  products and information for RGF’s use. Id. at ¶88.

          Ouellette was acutely aware that his conduct was improper. Id. at ¶89. On January 31,

  2023, RGF’s Vice President and Controller, Jenn Arduino (“Arduino”), copied Ouellette on RGF

  correspondence to a new vendor and stated that Ouellette should “be reaching out with the

  documentation we’ll need from you to get set up as a vendor in our system.” Id. at ¶90. Concerned

  with Semper Foods learning of his improper conduct, Ouellette immediately asked Arduino to

  “please delete this email from your recents so that no messages go here! please.” Id. at ¶91.

  Likewise, on February 20, 2023, Ouellette asked a subordinate at Semper Foods to provide him

  with the cell phone number for a Semper Foods vendor in order to share this information with

                                                                    6
                      NELSON MULLINS RILEY & SCARBOROUGH | ATTORNEYS AND COUNSELORS AT LAW
      One Biscayne Tower | 2 South Biscayne Blvd. 21st Floor Miami, FL 33131 | T: 305.373.9400 | F: 305.373.9443 | nelsonmullins.com
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 8 of 22




  RGF. Id. at ¶92. Ouellette also instructed a subordinate not to discuss the work he was doing with

  Semper Foods’ leadership, while regularly instructing the head of procurement not to perform

  work assigned by another member of Semper Foods, because Ouellette was instructing this same

  employee to work for RGF. Id. at ¶94.

          Ouellette never sought or obtained approval from Semper Foods to share or disclose

  information with RGF and was not authorized to utilize Semper Foods employees in furtherance

  of his own, competitive business activities or for RGF. Id. at ¶¶95-96. Nor did he seek or obtain

  approval from Semper Foods to provide any services to or enter into any agreement with RGF. Id.

  at ¶97. Ouellette’s conduct flagrantly violated the Operating Agreement. Id. at ¶¶98-99.

          As a result of Ouellette’s breaches of his obligations under the Operating Agreement and

  his persistent disloyal and dishonest conduct, Semper Foods removed him as an Officer and

  expelled him as a Member of Semper Foods for “Cause” on April 3, 2023. Compl. at ¶ 100. Semper

  Foods thereafter repurchased Ouellette’s ownership interest and as a result, he was no longer a

  Member of the company. Id. at ¶¶101-02.

          F. Ouellette Continues His Campaign to Harm Semper; Joins JAFCO in Violation
             of His Restrictive Covenants and Interferes with Semper Foods’ Other Contracts.

          Despite contesting his removal, Ouellette continued, and in fact ramped up, his efforts to

  compete with or otherwise harm Semper Foods. Compl. at ¶103. For example, on or around May

  9, 2023, he misrepresented to Semper Foods’ insurer that he was still an owner of the Company in

  an attempt to transfer a Company-owned insurance policy into his own name. Id. at ¶104.

  Similarly, Ouellette began flooding Semper Foods’ phone, email, and LinkedIn accounts with fake

  and irrelevant sales calls and outreaches, which caused significant disruption to Semper Foods’

  business operations. Id. at ¶¶105. In addition, despite Semper Foods’ demands that Ouellette

  update his LinkedIn profile, Ouellette refused to remove reference to Semper Foods for multiple
                                                                    7
                      NELSON MULLINS RILEY & SCARBOROUGH | ATTORNEYS AND COUNSELORS AT LAW
      One Biscayne Tower | 2 South Biscayne Blvd. 21st Floor Miami, FL 33131 | T: 305.373.9400 | F: 305.373.9443 | nelsonmullins.com
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 9 of 22




  months and continued to hold himself out as an owner and officer of Semper Foods long after

  expulsion to trade on Semper Foods’ name, cause confusion in the marketplace. Id. at ¶¶108-109.

          Ouellette and the other Members engaged in a dialogue regarding potential resolution,

  which forestalled Semper Foods from immediately initiating litigation. See Compl. at ¶110. During

  these negotiations, however, Ouellette simultaneously continued his unlawful conduct, including

  by working for JAFCO Foods, Inc. d/b/a Curate Foodservice (“JAFCO”), in direct violation of

  his restrictive covenants in the Operating Agreement. Id. at ¶¶111-112.

          JAFCO is engaged in the same business as Semper Foods and is a direct competitor. Id. at

  ¶113. Like Semper Foods, JAFCO operates nationwide in the wholesale protein and dry good

  food product market, and targets the same institutional clients, including wholesalers, food

  processors, retailers, and brands, as well as governmental, as well as the same food suppliers and

  vendors. systems. Id. at ¶¶114-118. With his intimate knowledge of Semper Foods’ confidential

  information and trade secrets, Ouellette can immediately use and likely has already used this

  information to solicit Semper Foods’ clients by undercutting Semper Foods pricing and by

  leveraging Semper Foods’ vendor and supplier network – all on behalf of JAFCO – in violation of

  the Operating Agreement. Id. at ¶¶119-121. In addition to his own ongoing breaches, Ouellette

  and JAFCO are actively working together to interfere with Semper Foods’ contractual rights and

  to otherwise harm Semper Foods, including by recently soliciting a former Semper Foods

  employee in violation of the Operating Agreement and applicable law. Id. at ¶¶122-124.

                                                     III.      ARGUMENT

          A. Standard for Preliminary Injunctive Relief.

          “A party that seeks a preliminary injunction must establish that: (1) it has a substantial

  likelihood of success on the merits; (2) irreparable injury will be suffered unless the injunction

                                                                    8
                      NELSON MULLINS RILEY & SCARBOROUGH | ATTORNEYS AND COUNSELORS AT LAW
      One Biscayne Tower | 2 South Biscayne Blvd. 21st Floor Miami, FL 33131 | T: 305.373.9400 | F: 305.373.9443 | nelsonmullins.com
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 10 of 22




  issues; (3) the threatened injury to the movant outweighs the damage the proposed injunction may

  cause the opposing party; and (4) if issues, the injunction will not be adverse to the public interest.”

  Forsyth Cnty. v. U.S. Army Corps of Eng'rs, 633 F.3d 1032, 1039 (11th Cir. 2011) (internal

  quotation omitted). Semper Foods easily establishes all necessary elements here.

          B. There is a Substantial Likelihood of Success on the Merits.

          Likelihood of success on the merits “is generally the most important of the four factors.”

  Speech First, Inc. v. Cartwright, 32 F.4th 1110, 1124 (11th Cir. 2022) (quoting Gonzalez v.

  Governor of Ga., 978 F.3d 1266, 1271 (11th Cir. 2020)). This first factor “requires a showing of

  ‘only likely or probable, rather than certain, success.’” Messina v. City of Ft. Lauderdale, Fla.,

  546 F. Supp. 3d 1227. 1237 (S.D. Fla. 2021) (quoting Schiavo ex rel. Schindler v. Schiavo, 403 F.

  3d 1223, 1232 (11th Cir. 2005) (emphasis in original). Semper Foods makes such a showing with

  regards to its claims for breach of contract and for Ouellette’s trade secret misappropriation.

                     1. Breach of Contract

          To prevail on a claim for breach of contract, Semper Foods must establish “(1) the existence

  of a contract; (2) a material breach of that contract; and (3) damages resulting from the breach.”

  Vega v. T-Mobile USA, Inc., 564 F. 3d 1256, 1272 (11th Cir. 2009). Semper Foods unquestionably

  does so here. See Compl. at ¶¶19-26, 41-99, 103-126. Whether Semper Foods has a likelihood of

  success on the merits of its claim for breach of contract accordingly turns on whether its Operating

  Agreements’ restrictive covenants are enforceable. They unquestionably are.

          “Under Florida law, claims for breach of a restrictive covenant are governed by ‘Fla. Stat.

  § 542.335, which contains a comprehensive framework for analyzing, evaluating and enforcing

  restrictive covenants contained in employment contracts.’” Transunion Risk & Alternative Data

  Sols., Inc. v. Challa, Case No. 9:15-CV-81049, 2016 WL 1161219, at *4 (S.D. Fla. Mar. 23, 2016)


                                                                    9
                      NELSON MULLINS RILEY & SCARBOROUGH | ATTORNEYS AND COUNSELORS AT LAW
      One Biscayne Tower | 2 South Biscayne Blvd. 21st Floor Miami, FL 33131 | T: 305.373.9400 | F: 305.373.9443 | nelsonmullins.com
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 11 of 22




  (quoting Proudfoot Consulting Co. v. Gordon, 576 F.3d 1223, 1230–31 (11th Cir. 2009)).

  Restrictive covenants are accordingly enforceable so long as (1) such contracts are reasonable in

  time, area, and line of business; (2) the covenant is set forth in a writing signed by the party at

  issue; (3) there are one or more legitimate business interests to justify the covenant; and (4) that

  the covenant (and the restraint specified therein) is reasonably necessary to protect those legitimate

  business interests. See Fla. Stat. § 542.335(1) (2023). The restrictive covenants in Semper Foods’

  Operating Agreement meet all four requirements.

                        i.     The Restrictive Covenants are Reasonable in Temporal Scope, Geographic
                               Location, and Business Line.

          The restrictive covenants here run for 18 months after Ouellette’s separation from Semper

  Foods. See Compl. at Ex. “A,” p. 14. A two-year restrictive covenant is presumptively reasonable

  under Florida law; and Florida courts have long-recognized limitations like the 18-month

  restriction here as reasonable. See Head Kandy, LLC v. McNeill, 2023 WL 6309985, at *7 (S.D.

  Fla. Sept. 12, 2023); Southernmost Foot and Ankle Specialists, P.A., v. Torregrosa, 189 So. 2d

  591, 594-95 (Fla. 3d DCA 2004). No compelling reason exists here to deviate from long-standing

  precedent.

          With regards to geographic scope, the reasonableness “ is a factual matter to be determined

  in each case.” Orkin Exterminating Co., Inc. v. Girardeau, 301 So. 2d 38, 40 (Fla. 1st DCA 1974).

  Here, the geographic scope is nationwide. See Compl. at Ex. “A,” p. 15. “A nationwide restriction

  is not invalid per se” so long as it is “necessary to protect the employer’s interests.” Auto Club

  Affiliates, Inc. v. Donahey, 281 So. 2d 239, 241 (Fla. 2d DCA 1973); accord Autonation, Inc. v.

  O’Brien, 347 F. Supp. 2d 1299, 1307–08 (S.D. Fla. 2004) (reasonable to restrict competition in

  any geographic space in which former employer operates); see also Head Kandy, LLC, 2023 WL

  6309985, at *8 (enforcing worldwide restriction). Courts “have held that the area necessary for
                                                                   10
                      NELSON MULLINS RILEY & SCARBOROUGH | ATTORNEYS AND COUNSELORS AT LAW
      One Biscayne Tower | 2 South Biscayne Blvd. 21st Floor Miami, FL 33131 | T: 305.373.9400 | F: 305.373.9443 | nelsonmullins.com
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 12 of 22




  the protection of the employer’s interests is the area throughout which the employer’s business

  activities extend.” Id.

          Here, the nationwide scope reasonably tailored because Ouellette founded Semper Foods,

  was its former Chief Operating Officer and Second Vice President, and because Semper Foods

  markets its good throughout the United States. See id. at ¶¶10-12, 28-29. Semper Foods provided

  Ouellette with its confidential information concerning its clients, vendors, suppliers, and pricing

  information throughout the United States. Id. at ¶¶ 13-15, 30-33. Moreover, Ouellette performed

  services for Florida-based Semper Foods at times remotely from his home in Michigan and is now

  performing services for Massachusetts-based JAFCO. Id. at ¶¶ 2, 112. Regardless of Ouellette’s

  location, he has can target Semper Food’ national customers and vendors. As such, the nationwide

  restrictive covenants protects Semper Foods’ interests because its business activities extend

  throughout the United States.

          Ouellette’s noncompetition covenant is also narrowly tailored to restrict Ouellette from

  performing services only for a person or entity “that directly competes with Semper Foods’

  principal business operations as a food broker.” Compl. at Ex. “A,” pp. 14-15. He is prohibited

  from performing services for Semper Foods’ competitors, not competition per se. Id. A restrictive

  covenant that is narrowly tailored to the specific line of business, as here, is reasonable. See All

  Star Recruiting Locums, LLC v. Ivy Staffing Sols., LLC, 2022 WL 2340997, at *14 (S.D. Fla. Apr.

  8, 2022) (upholding restrictive covenant specifically limited to plaintiff's business). Such limited

  restrictive covenants “[do] not prevent employees engaging in activity outside of the industry” and

  are thus enforceable. Id.; see also Milner Voice & Data, Inc. v. Tassy, 377 F. Supp. 2d 1209, 1219

  (S.D. Fla. 2005).

                       ii.     Legitimate Business Interests Justify the Restrictive Covenants.

                                                                   11
                      NELSON MULLINS RILEY & SCARBOROUGH | ATTORNEYS AND COUNSELORS AT LAW
      One Biscayne Tower | 2 South Biscayne Blvd. 21st Floor Miami, FL 33131 | T: 305.373.9400 | F: 305.373.9443 | nelsonmullins.com
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 13 of 22




          A “legitimate business interest” is an “identifiable business asset that constitutes or

  represents an investment by the proponent of the restriction such that, if that asset were

  misappropriated by a competitor (i.e., taken without compensation), its use in competition against

  its former owner would be ‘unfair competition.’” White v. Mederi Caretenders Visiting Services

  of Southeast Fla., LLC, 226 So. 3d 774, 784 (Fla. 2017) (quotation omitted). “Put another way, a

  ‘legitimate business interest’ is a business asset that, if misappropriated, would give its new owner

  and unfair competitive advantage over its former owner.” Id. at 784-85 (quotation omitted).

          “Legitimate business interests” include (1) trade secrets [as defined in the FUTSA], (2)

  confidential business information that is not otherwise protectable as a trade secret, (3) substantial

  relationships with prospective or existing clients, (4) client goodwill, and (5) extraordinary or

  specialized training. See Fla. Stat. § 542.335(1)(b).Moreover, the “right to prohibit the direct

  solicitation of existing customers' is a legitimate business interest, and a covenant not to compete

  which includes a non-solicitation clause is breached when a former employee directly solicits

  customers of his former employer.” Kova Commercial of Naples, LLC v. Sabin, Case No. 2:23-

  CV-614-JES-KCD, 2023 WL 6458845, at *9 (M.D. Fla. Oct. 4, 2023) (quoting Atomic Tattoos,

  LLC v. Morgan, 45 So.3d 63, 65 (Fla. 2d DCA 2010)).

          “It is clear that [Semper Foods’] [c]onfidential [i]nformation is a protectible legitimate

  business interest.” Lincare, Inc. v. Markovic, 2022 WL 18927111, at *6 (M.D. Fla. Nov. 17,

  2022).. As one of Semper Foods’ founders and a “top-level” employee, Ouellette had intimate

  knowledge of the company’s business model and strategies, as well as had access to its clients,

  vendors, and suppliers. Compl. at ¶¶ 13-15, 30-33. Semper Foods invested significant time and

  Company resources developing and maintaining its longstanding, substantial customer

  relationships. Id. at ¶¶13-15. Its customers repeatedly purchase products through Semper Foods

                                                                   12
                      NELSON MULLINS RILEY & SCARBOROUGH | ATTORNEYS AND COUNSELORS AT LAW
      One Biscayne Tower | 2 South Biscayne Blvd. 21st Floor Miami, FL 33131 | T: 305.373.9400 | F: 305.373.9443 | nelsonmullins.com
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 14 of 22




  because it has won this hard earned, repeat business from its clients by providing high quality

  products and service at extremely competitive pricing. Id. The company’s ability to leverage this

  network by immediately coordinating purchases of specific products from specific suppliers in

  order to fill specific client purchasing needs at extremely competitive pricing, provides its

  competitive edge in the marketplace. Id. at ¶¶13-18

           Ouellette had access to the highest levels of Semper Foods’ proprietary, confidential, trade

  secret, and competitive business information, including without limitation nationwide customer,

  supplier, and vendor information, purchasing history, margins, pricing information, operating

  procedures, and other forms of proprietary business intelligence and trade secrets. See id. at ¶¶13,

  30-31.

           This includes Semper Foods’ secure, password-protected customer sales database

  containing customer contact information, purchase histories and pricing information, and other

  valuable, confidential customer-related information crucial to servicing Semper Foods’ customers

  and maintaining the company’s goodwill. Id. at ¶¶31-33. All of the foregoing is more than

  sufficient to establish a legitimate, protectible business interest. See North Am. Prods. Corp. v.

  Moore, 196 F. Supp. 2d 1217, 1228 (M.D. Fla. 2002) (employer has legitimate business interest

  where employee gains substantial knowledge of his former employer’s customers, their purchasing

  history, and their needs and specifications); Reliance Wholesale, Inc. v. Godfrey, 51 So. 3d 561,

  564-65 (Fla. 3d DCA 2010) (customer database similar to that which Ouellette had access qualifies

  as valuable business or professional information).

                      iii.     The Restrictive Covenants are Reasonably Necessary.

           Restrictive covenants are reasonably necessary when they protect legitimate business

  interest. Veterinary Orthopedic Implants, Inc. v. Haas, 2020 WL 5369087, at *12 (M.D. Fla. Sept.

                                                                   13
                      NELSON MULLINS RILEY & SCARBOROUGH | ATTORNEYS AND COUNSELORS AT LAW
      One Biscayne Tower | 2 South Biscayne Blvd. 21st Floor Miami, FL 33131 | T: 305.373.9400 | F: 305.373.9443 | nelsonmullins.com
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 15 of 22




  8, 2020). Ouellette had “access to confidential business information crucial to the success of an

  employer's business;” and as a result, Semper Foods “has a strong interest in enforcing a covenant

  not to compete.” Proudfoot Consulting Co. v. Gordon, 576 F.3d 1223, 1234 (11th Cir. 2009).

  Semper Foods accordingly establishes that the Operating Agreement contains enforceable

  restrictive covenants that are reasonably necessary to protect its legitimate business interests. It

  therefore demonstrates a likelihood of success on its breach claim.

               2. Trade Secrets Misappropriation

          To establish misappropriation of trade secrets under the Defend Trade Secrets Act

  (“DTSA”), Semper Foods must show that it possessed a trade secret and Ouellette misappropriated

  it. See 18 U.S.C. § 1839. Similarly, under Florida Uniform Trade Secrets Act (“FUTSA"), a

  plaintiff must prove “(1) that it possesses a trade secret and took reasonable steps to protect its

  secrecy; and (2) the trade secret was misappropriated, either by one who knew or had reason to

  know the trade secret was improperly obtained or who used improper means to obtain it.” Mapei

  Corp. v. J.M. Field Marketing, Inc., 295 So.3d 1193, 1198 (Fla. 4th DCA 2020) (citing Fla. Stat.

  § 688.002(2) (2020)).

                        i.     Semper Foods Clearly Possesses Trade Secrets.

          A trade secret is defined as information that “the owner thereof has taken reasonable

  measures to keep secret” and that “derives independent economic value, actual or potential, from

  not being generally known to, and not being readily ascertainable through proper means by,

  another person who can obtain economic value from the disclosure of the information.” 18 U.S.C.

  § 1839(3); see also Fla. Stat. § 688.002(4)(a)-(b). Client lists, information, and strategies constitute

  protectable trade secrets. See Anchor Title & Escrow, LLC v. Omega Nat’l Title Agency, LLC, WL

  3564942, at *2 (N.D. Fla. Apr. 14, 2023) (customer and client lists were trade secrets); Pinch A

                                                                   14
                      NELSON MULLINS RILEY & SCARBOROUGH | ATTORNEYS AND COUNSELORS AT LAW
      One Biscayne Tower | 2 South Biscayne Blvd. 21st Floor Miami, FL 33131 | T: 305.373.9400 | F: 305.373.9443 | nelsonmullins.com
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 16 of 22




  Penny, Inc. v. SR & JG, Inc., 9:15-CV-80067, 2017 WL 5763118, at *9 (S.D. Fla. Sept. 19, 2017)

  (customer list with names, addresses, phone numbers, pool sizes, number of store visits, and

  purchase history was trade secret). Similarly, know-how and sensitive pricing and financial

  information is recognized as protectable trade secrets. See Balearia Caribbean Ltd., Corp. v.

  Calvo, 2017 WL 8780944, at *6 (S.D. Fla. Aug. 3, 2017) (profit and loss statements may constitute

  trade secrets if they give competitors a competitive advantage); Se. Mech. Servs., Inc. v. Brody,

  2008 WL 4613046, at *11 (M.D. Fla. Oct. 15, 2008) (sensitive financial documents are trade

  secrets).

          Here, Semper Foods establishes that it has protectable trade secrets under both the DTSA

  and FUTSA. It invested time and human capital, along with ongoing trial and error, developing

  its prized customer list, along with its vendor and supplier network that allows it to source the

  high-quality food products nationwide. Compl. at ¶¶13-15. Semper Foods’ customer, client,

  vendor, and supplier lists, networks, and compilations of information are extremely valuable assets

  compiled over many years and significant investments of time, resources, relationship building.

  Id. at ¶¶13-18.

          Likewise, Semper Foods plainly demonstrates that it took reasonable, and in fact extensive,

  measures to protect its valuable information and trade secrets. Id. at ¶¶19, 34-40; see also Coihue,

  LLC v. PayAnyBiz, LLC, 2018 WL 7376908, at *5 (S.D. Fla. Feb. 6, 2018) (allegations that

  plaintiff had confidentiality policies and password-protected computer systems sufficient for to

  draw a reasonable inference of reasonable steps to protect the secrecy of trade secrets);.Semper

  Foods’ client, supplier, and vendor information and pricing and financial information accordingly

  constitute protectable trade secrets under the DTSA and FUTSA.

                       ii.     Ouellette Misappropriated Semper Foods’ Trade Secrets and Threatens
                               Continued Misappropriation.
                                                                   15
                      NELSON MULLINS RILEY & SCARBOROUGH | ATTORNEYS AND COUNSELORS AT LAW
      One Biscayne Tower | 2 South Biscayne Blvd. 21st Floor Miami, FL 33131 | T: 305.373.9400 | F: 305.373.9443 | nelsonmullins.com
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 17 of 22




          A person misappropriates a trade secret by using a trade secret without consent of the owner

  when he, “at the time of…use, knew or had reason to know that the knowledge of the trade secret

  was…(I) derived from or through a person who had used improper means to acquire the trade

  secret; (II) acquired under circumstances giving rise to a duty to maintain the secrecy of the trade

  secret…; or (III) derived from or through a person who owed a duty to the person seeking relief to

  maintain the secrecy or limited the use of the trade secret.” 18 U.S.C. § 1839(5)(B); see also Fla.

  Stat. § 688.002(2).

          Pursuant to the Operating Agreement and as Officer, Member, and fiduciary of the

  company, Ouellette has contractual and statutory duties not to use or disclose Semper Foods’

  confidential, proprietary, and trade secret information except in relation to performing his work

  for Semper Foods. See Compl. at Ex. “A,” p. 15. Ouellette violated his contractual and statutory

  obligations regarding the protection of Semper Foods’ trade secrets. Without the benefit of

  discovery, and based on its ongoing investigation, Semper Foods has already uncovered

  unequivocal evidence that Ouellette transmitted, forwarded, and retained such information,

  including client, supplier, and vendor contacts and pricing information, for his personal use and

  for by others outside of Semper Foods. Id. at ¶¶53, 59-63, 66-74, 78-79, 82, 84-99, 111-112, 119-

  124, 128.

          Specifically, Ouellette already (i) obtained and forwarded to non-Semper Foods email

  accounts confidential and proprietary pricing information for use outside of Semper Foods on

  multiple occasions; (ii) used Semper Foods' employees and procurement resources to obtain

  vendor contact information (obviously for use other than for Semper Foods); (iii) utilized Semper

  Foods’ confidential pricing information to benefit a competitor; and (iv) repeatedly contacted and

  solicited vendors under the guise of Semper Foods’ business in order to obtain confidential
                                                                   16
                      NELSON MULLINS RILEY & SCARBOROUGH | ATTORNEYS AND COUNSELORS AT LAW
      One Biscayne Tower | 2 South Biscayne Blvd. 21st Floor Miami, FL 33131 | T: 305.373.9400 | F: 305.373.9443 | nelsonmullins.com
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 18 of 22




  information for use by others. Id. at ¶¶60-61, 63, 72, 82, 86-88, 92. There is “substantial likelihood

  that Plaintiff will succeed on its misappropriation claims” because Ouellette sent confidential

  information from Semper Foods’ “database to [his] personal email account while [he was]

  employed by Plaintiff and without permission from Plaintiff.” All Star Recruiting Locums, LLC,

  LLC, 2022 WL 2340997 at *12. Moreover, despite his ongoing contractual and statutory

  obligations, Ouellette remains in possession of all Semper Foods information stored on his laptop

  and cellphone. Id. at ¶120.

          Semper Foods has uncovered Ouellette’s misappropriation despite his repeated attempts to

  conceal the same, including by silencing subordinates regarding his theft and instructing

  individuals to avoid communicating through Company email to avoid detection. Id. at ¶¶72-74,

  90-91, 93-94. His well-documented forwarding and disclosing of Semper Foods information—and

  his attempts to conceal it—establish beyond the pale Ouellette’s ongoing and threatened

  misappropriation. To wit, Ouellette has already disclosed inside information regarding Semper

  Foods personnel to JAFCO and further used this information to solicit and hire a former Semper

  Foods employee. Id. at ¶¶122-124. He cannot be trusted to adhere to his confidentiality and other

  obligations intended to protect Semper Foods trade secrets. Id. at ¶¶53-99. That he now has decided

  to work for a direct competitor of Semper Foods while pushing for a pre-suit mediation amplifies

  both Ouellette’s ability and intent to use Semper Foods’ trade secrets and other confidential

  information to compete directly with his former company. Id. at ¶¶53, 59-63, 66-74, 78-79, 82,

  84-99, 111-112, 119-124, 128. Semper Foods accordingly demonstrates a substantial likelihood of

  success on its claims under the DTSA and FUTSA.

          C. Irreparable Harm is Presumed.




                                                                   17
                      NELSON MULLINS RILEY & SCARBOROUGH | ATTORNEYS AND COUNSELORS AT LAW
      One Biscayne Tower | 2 South Biscayne Blvd. 21st Floor Miami, FL 33131 | T: 305.373.9400 | F: 305.373.9443 | nelsonmullins.com
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 19 of 22




          “[P]reventing irreparable harm in the future is the sine qua non of injunctive relief.”

  Alabama v. U.S. Army Corps of Eng'rs, 424 F.3d 1117, 1133 (11th Cir. 2005). “Irreparable harm

  presupposes an injury that is neither remote nor speculative, but actual and imminent.” Carbone

  v. Ocean Breeze Recovery, LLC, 2015 WL 11201203, at *5 (S.D. Fla. Oct. 7, 2015) (quotation

  omitted). “The violation of an enforceable restrictive covenant creates a presumption of irreparable

  injury to the person seeking enforcement of the restrictive covenant.” Transunion Risk &

  Alternative Data Sols., Inc. v. Challa, 2016 WL 1161219, at *6 (S.D. Fla. Mar. 23, 2016).

  Similarly, “irreparable injury is presumed when there has been trade secret misappropriation. . .”

  Freedom Med., Inc. v. Sewpersaud, 469 F. Supp. 3d 1269, 1278 (M.D. Fla. 2020).

          Where, as here, a defendant is in possession of plaintiff’s confidential and trade secret

  information and is in a position to utilize them against the plaintiff, the irreparable harm

  requirement is plainly met. See Anchor Title & Escrow, LLC v. Omega Nat’l Title Agency, LLC,

  2023 WL 3564942, at *2 (N.D. Fla. Apr. 14, 2023) (defendants’ use of proprietary information to

  solicit customers and clients to a direct competitor risks irreparable harm); VAS Aero Servs., LLC

  v. Arroyo, 860 F. Supp. 2d 1349, 1363 (S.D. Fla. 2012) (irreparable harm likely when a former

  employee worked for a competitor and misappropriated trade secrets).

          Semper Foods will be irreparably and irreversibly harmed if Ouellette is allowed to

  continue his unlawful competition and activity in violation of the Operating Agreement, along

  with his unlawful use and disclosure of Semper Foods’ trade secrets and confidential information,

  in concert with RGF, JAFCO, or otherwise. Id. at ¶¶53, 59-63, 66-74, 78-79, 82, 84-99, 111-112,

  119-124-126, 128-130.

          D. The Threatened Injury to Semper Foods Outweighs any Harm to Ouellette.




                                                                   18
                      NELSON MULLINS RILEY & SCARBOROUGH | ATTORNEYS AND COUNSELORS AT LAW
      One Biscayne Tower | 2 South Biscayne Blvd. 21st Floor Miami, FL 33131 | T: 305.373.9400 | F: 305.373.9443 | nelsonmullins.com
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 20 of 22




          The third element of the preliminary injunction test “requires that the movant prove that

  the threatened injury outweighs the harm the preliminary injunction would cause the other

  litigant.” All Star Recruiting Locums, LLC, 2022 WL 2340997, at *18. The Court must therefore

  “balance the competing claims of injury and must consider the effect on each party of the granting

  or withholding of the requested relief.” Id.

          The potential harm to Semper Foods outweighs any harm to Ouellette because he will “face

  only the prospect of being divested of information that [he] had no right to use in the first place,

  while [Semper Foods] faces loss of its trade secrets, customers, and market share to a competitor,

  which it has expended significant time and resources to develop and protect.” Anchor Title &

  Escrow, LLC v. Omega Nat’l Title Agency, LLC, 2023 WL 3564942, at *3 (N.D. Fla. Apr. 14,

  2023). “While the revelation of [Semper Foods’] confidential information and trade secrets would

  significantly harm [it], all the recommended TRO would do is require [Ouellette] to temporarily

  abide by the provisions he already agreed to in [the Operating Agreement while the TRO is in

  place and return any [Semper Foods] property.” WhiteSource Software, Inc. v. Coscina, 2021 WL

  1259215, at *3 (S.D. Fla. Apr. 2, 2021). Ouellette will “not be harmed because he has no legal

  right to possess [Semper Foods]’s property… and he agreed not to reveal [Semper Foods’]

  confidential information and trade secrets. . .” Id. The balance of the harms thus favors Semper

  Foods and entry of injunctive relief against Ouellette.

          E. Granting an Injunction Will Serve the Public Interest.

          The public has an “interest in upholding and protecting freedom to contract and to enforce

  contractual rights and obligations.” Mohr v. Bank of New York Mellon Corp., 393 Fed. Appx. 639,

  646 (11th Cir. 2010). Likewise, “the Florida Legislature has determined that injunctions to protect

  trade secrets and restrictive covenants serve the public interest.” AutoNation, Inc., 2019 WL

                                                                   19
                      NELSON MULLINS RILEY & SCARBOROUGH | ATTORNEYS AND COUNSELORS AT LAW
      One Biscayne Tower | 2 South Biscayne Blvd. 21st Floor Miami, FL 33131 | T: 305.373.9400 | F: 305.373.9443 | nelsonmullins.com
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 21 of 22




  4693575, at *5. The entry of the preliminary injunction Semper Foods seeks will accordingly

  “further the public interest by preserving faith in the contractual agreements that businesses

  routinely make with their employees, by upholding the terms of enforceable contracts, and by

  rightfully protecting trade secrets from unlawful use and disclosure.” WhiteSource Software, Inc.,

  2021 WL 1259215, at *3 (internal quotations omitted).

                                                   IV.        CONCLUSION

          WHEREFORE, Plaintiff, Semper Foods, LLC, respectfully requests that this Court enter

  a temporary injunction that (a) enjoins Defendant, Eric Ouellette, and all others with actual notice

  of such injunction from directly or indirectly working for, being employed by, providing services

  to, or otherwise being involved with the business of JAFCO Foods, Inc., as well as from directly

  or indirectly soliciting any customer or prospective customer, supplier, vendor, or other business

  relation of Semper Foods during the pendency of this litigation or otherwise assisting or facilitating

  the foregoing; (b) upon receipt of actual notice of such temporary injunction, enjoins JAFCO

  Foods, Inc., its parent company, its subsidiaries, and its affiliates from continuing to directly or

  indirectly employ Ouellette during the pendency of this litigation; (c) enjoins Ouellette from

  directly or indirectly accessing, copying, using, or disclosing, any confidential, proprietary, and

  trade secret information, whether in physical or electronically-stored form, belonging to Semper

  Foods; (d) requires Ouellette to immediately return to Semper Foods any physical/hard copy

  information or property belonging to Semper Foods in his possession, custody or control and

  further requiring Ouellette, through his counsel, to immediately quarantine any electronically-

  stored information or property in Ouellette’s possession so that Ouellette is unable to access such

  information or property; and (e) grants such other and further relief as is deems just and proper.




                                                                   20
                      NELSON MULLINS RILEY & SCARBOROUGH | ATTORNEYS AND COUNSELORS AT LAW
      One Biscayne Tower | 2 South Biscayne Blvd. 21st Floor Miami, FL 33131 | T: 305.373.9400 | F: 305.373.9443 | nelsonmullins.com
Case 9:23-cv-81420-RLR Document 8 Entered on FLSD Docket 10/30/2023 Page 22 of 22




          Dated: October 30, 2023



                                                                          Respectfully submitted,

                                                                          NELSON        MULLINS                      RILEY             &
                                                                          SCARBOROUGH, LLP
                                                                          2 South Biscayne Blvd.
                                                                          21st Floor
                                                                          Miami, Florida 33131
                                                                          Telephone: 305.373.9436

                                                                          By: /s/ Justin B. Kaplan
                                                                              Justin B. Kaplan, Esq.
                                                                              Fla. Bar No.: 33725
                                                                              Justin.Kaplan@nelsonmullins.com
                                                                              George G. Mahfood
                                                                              Fla. Bar. No.: 77356
                                                                              George.Mahfood@nelsonmullins.com


                                             CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing was served this 30th day of

  October by email on Christopher Kammerer, ckammerer@rkjilawgroup.com, counsel for

  Defendant Eric Ouellette.

                                                                                    /s/George G. Mahfood
                                                                                    George G. Mahfood




                                                                   21
                      NELSON MULLINS RILEY & SCARBOROUGH | ATTORNEYS AND COUNSELORS AT LAW
      One Biscayne Tower | 2 South Biscayne Blvd. 21st Floor Miami, FL 33131 | T: 305.373.9400 | F: 305.373.9443 | nelsonmullins.com
